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Case 5:21-cm-00037-CDC Document1 Filed 06/10/21 Page DYGFTES PRISE NB KANSAS

AO 106 (Rev. 04/10) Application for a Search Warrant

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UNITED STATES DISTRICT COURT SAidin GAN Gas

for the Deputy Clerk
Western District of Arkansas

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

AT&T Cellular Phone Number Assigned
Call Number 405-215-1790

EPIC Se

Case No. ~

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identifv the person or describe the
property to be searched and give its location):

Described in Attachment A. This Court has authority pursuant to 18 USC 2703(c)(1)(A); 18 USC 2711(3)(A); Rule 41

located in the unknown District of unknown , there is now concealed (identify the

person or describe the property to be seized):

 

Described in Attachment B

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
Mf evidence of a crime;
CO) contraband, fruits of crime, or other items illegally possessed;
C1) property designed for use, intended for use, or used in committing a crime;

Wa person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
21 USC 841(a)(1); (b)(1)(A) Conspiracy to Distribute More Than 500 Grams of a Mixture Containing

(viii); (b)(1)(B)(viii); 846; and 18 Methamphetamine and Aiding and Abetting in the Distribution of More Than 50
USC 2 Grams of a Mixture Containing Methamphetamine - Fugitive

The application is based on these facts:

@ Continued on the attached sheet. Prom demunah ™n of alata colleesm

Delayed notice of 40. days (gtveexactemdine-date--mere-than30-deyss __ ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

Ogee a es

Applicant's signature

Dustin Chastain, DUSM

Printed name and title

Sworn to before me and signed in my presence. : |
Date: v lo| Wu : Coyghele

(| Judge 's signature
City and state: Fayetteville, AR ; ; US’Magistrate Judge Chisty Comstock

Printed name and title

 

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION

IN THE MATTER OF THE SEARCH OF Case No.
THE AT&T CELLULAR TELEPHONE
ASSIGNED CALL NUMBER 405-215-1790 | Filed Under Seal

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Deputy United States Marshal Dustin Chastain, being first duly sworn, hereby depose
and state as follows:

INTRODUCTION AND AGENT BACKGROUND

di. I make this affidavit in support of an application for a search warrant under
Federal Rule of Criminal Procedure 41, and 18 U.S.C. §§ 2703(c)(1)(A), and 2711(3)(A), for
information about the location and use of the cellular telephone assigned call number 405-215-
1790 (the “Target Cell Phone”), whose service provider is AT&T, a wireless telephone service
provider. The Target Cell Phone is described herein and in Attachment A, and the location
information to be seized is described herein and in Attachment B.

2. I am a Deputy United States Marshal (DUSM) with the U.S. Marshals Service,
(“USMS”), currently assigned to the Fayetteville Division Office in Fayetteville, Arkansas. I
have been so employed with the USMS since March 2011. As part of my daily duties as a
Deputy U.S. Marshal (DUSM), I conduct fugitive investigations. | have received training in the

area of criminal investigations and fugitive apprehension.
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3, The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. This affidavit is intended
to show merely that there is sufficient probable cause for the requested warrant and does not set
forth all of my knowledge about this matter.

4, Based on the facts set forth in this affidavit, there is probable cause to believe that
the location information described in Attachment B will lead to evidence helping with the
capture of an individual who has an outstanding federal warrant for her arrest.

PROBABLE CAUSE

5: The United States government, including the Drug Enforcement Administration
(who is being assisted by the United States Marshals Service), is investigating the drug
trafficking activities of Christie Yandell in the Western District of Arkansas.

6. Christie Yandell is a target of an ongoing methamphetamine trafficking
investigation being conducted by the DEA and USMS in the Western District of Arkansas.
During the investigation, agents identified the phone number that is the subject of this request as
one of the phone numbers used by Yandell to facilitate her drug trafficking activities.

7. During the investigation, on March 18, 2021, the DEA FRO and the Benton
County Narcotics Unit conducted a controlled purchase of methamphetamine utilizing a credible
and reliable confidential source, hereafter referred to as CS, from Elmer Francis and Rhonda
Francis. During the controlled purchase, the CS witnessed and overheard (because Elmer
Francis had his phone on speaker in the presence of the CS during the call) a phone call between
Elmer Francis and Christie Yandell. Yandell was communicating on the AT&T phone number

(405) 215-1790, when speaking with Elmer Francis. During the phone call, Elmer Francis and

 
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Yandell coordinated the resupply of methamphetamine from Yandell to Francis that was set to
occur later that day.

8. At approximately 9:38 p.m. DEA FRO utilized court authorized electronic
surveillance that confirmed that Elmer Francis and Rhonda Francis were mobile and heading
southbound toward Ft. Smith. Electronic surveillance was monitored as Elmer and Rhonda
Francis traveled south on Interstate 49. At approximately 11:10 p.m., OBN Agent TFO Tyler
Newby observed Elmer Francis and Rhonda Francis arrive at 701 Fuller Street in Pocola,
Oklahoma driving a blue Chevy Camaro registered to Elmer Francis. At approximately 11:27
p.m., OBN TFO Tyler Newby observed a black mustang bearing Missouri tag XG9-L4E. This is
a known vehicle utilized by Yandell. At approximately 11:46 p.m., OBN Agent Jason Tucker
observed Elmer and Rhonda Francis leave in the Camaro and head north in the direction of
Northwest Arkansas. At approximately 2:30 a.m., DEA FRO electronic surveillance showed that
Elmer Francis and Rhonda Francis arrived back to their residence at 855 E Lowell Ave, in Cave
Springs, Arkansas.

9. Then, on March 19, 2021, the CS referenced above, at the direction of law
enforcement, purchased additional methamphetamine from Elmer Francis, further corroborating
that Yandell distributed methamphetamine to Francis on March 18, 2021, as she stated she would

in the phone call overheard by the CS.
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10. During the course of the investigation, Deputy United States Marshal (DUSM)
Chastain, the affiant, spoke with DEA Special Agent (SA) Broomfield. SA Broomfield is the
lead case agent assigned to the investigation into the drug trafficking activities of Yandell. SA
Broomfield confirmed that AT&T cellular number (405) 215-1790 is a number used by Yandell
during the ongoing criminal investigation.

11. Based upon information received from SA Broomfield, it appears that Yandell has
used and continues to use the telephone number, 405-215-1790. The exact whereabouts and
location of Yandell are unknown at this time. Thus, she is considered a fugitive. In addition, a
Grand Jury convened in the Western District of Arkansas on June 8, 2021, has returned a True
Bill against Yandell in Criminal Case Number 5:CR-50028-0011, charging her with conspiracy
to distribute more than 500 grams of a mixture or substance containing a detectable amount of
methamphetamine and aiding and abetting in the distribution of more than 50 grams of a mixture
or substance containing a detectable amount of methamphetamine in violation of federal law.

12. Based upon my training and experience as a fugitive investigator, I know it is
common for fugitives to speak, meet, and otherwise maintain a relationship with family members
and significant others, and that they often do so by way of their cellular devices, including cell
phones. Due to the propensity of fugitives to maintain these relationships, and that the most
common way for a fugitive to communicate with others close to them is by way of their cell
phones, I believe it is reasonable to grant a search warrant for the location information of the
listed AT&T number used by Yandell to assist the affiant and other law enforcement officers in
the apprehension of Yandell.

13. In my training and experience, I have learned that AT&T is a company that

provides cellular telephone access to the general public. I also know that providers of cellular

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telephone service have technical capabilities that allow them to collect and generate at least two
kinds of information about the locations of the cellular telephones to which they provide service:
(1) E-911 Phase II data, also known as GPS data or latitude-longitude data, and (2) cell-site data,
also known as “tower/face information” or cell tower/sector records. E-911 Phase II data
provides relatively precise location information about the cellular telephone itself, either via GPS
tracking technology built into the phone or by triangulating on the device’s signal using data
from several of the provider’s cell towers. Cell-site data identifies the “cell towers” (1.e., antenna
towers covering specific geographic areas) that received a radio signal from the cellular
telephone and, in some cases, the “sector” (i.e., faces of the towers) to which the telephone
connected. These towers are often a half-mile or more apart, even in urban areas, and can be 10
or more miles apart in rural areas. Furthermore, the tower closest to a wireless device does not
necessarily serve every call made to or from that device. Accordingly, cell-site data is typically
less precise that E-911 Phase II data.

14. Based on my training and experience, I know that AT&T can collect E-911 Phase
II data about the location of the Target Cell Phone, including by initiating a signal to determine
the location of the Target Cell Phone on the AT&T network or with such other reference points
as may be reasonably available.

13; Based on my training and experience, I know that AT&T can collect cell-site
data about the cell phone used by Yandell, the Target Cell Phone.

AUTHORIZATION REQUEST

16. Based on the foregoing, I request that the Court issue the proposed search

warrant, pursuant to Federal Rule of Criminal Procedure 41, 18 U.S.C. § 2703(c), and 18 U.S.C.

2711(3)(A).
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17. As further specified in Attachment B, which is incorporated into the warrant, the

proposed search warrant does not authorize the seizure of any tangible property. See 18 U.S.C. §

3103a(b)(2). Moreover, to the extent that the warrant authorizes the seizure of any wire or
electronic communication (as defined in 18 U.S.C. § 2510) or any stored wire or electronic
information, there is reasonable necessity for the seizure for the reasons set forth above. See 18
U.S.C. § 3103a(b)(2).

18. I further request that the Court direct AT&T to disclose to the government any
information described in Attachment B that is within the possession, custody, or control of
AT&T. I also request that the Court direct AT&T to furnish the government all information,
facilities, and technical assistance necessary to accomplish the collection of the information
described in Attachment B unobtrusively and with a minimum of interference with AT&T
services, including by initiating a signal to determine the location of the Target Cell Phone on the
AT&T network or with such other reference points as may be reasonably available, and at such
intervals and times directed by the government. The government shall reasonably compensate

AT&T for reasonable expenses incurred in furnishing such facilities or assistance.

Respectfully submitted,

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DUSTIN CHASTAIN
DEPUTY UNITED STATES MARSHAL
UNITED STATES MARSHALS SERVICE

 
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Subscribed and sworn to before me on lo day of June, 2021

Yuty Crabrle

HONO E CHRISTY COMSTOCK
UNITED SYATES MAGISTRATE JUDGE
WESTERN DISTRICT OF ARKANSAS
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ATTACHMENT A
Property to Be Searched

1. The cellular telephone assigned call number 405-215-1790 (the “Target Cell Phone”),

whose wireless service provider is AT&T.

2. Information about the location of the Target Cell Phone that is within the possession,

custody or control of AT&T.

 
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ATTACHMENT B
Particular Things to be Seized

1. Any and all information related to SMS or Text messages, emails or any other
communication, including tolls, all available E-911 Phase II data, GPS data, latitude-
longitude data, and other precise location information, as well as all data about which
“cell towers” (i.e., antenna towers covering specific geographic areas) and “sectors” (i.e.,
faces of the towers) received a radio signal from the cellular telephone described in
Attachment A.

2. To the extent that the information described in the previous paragraph (hereinafter,
“Location Information”) is within the possession, custody, or control of AT&T is
required to disclose the Location Information to the government. In addition, AT&T
must furnish the government all information, facilities, and technical assistance necessary
to accomplish the collection of the Location Information unobtrusively and with a
minimum of interference with AT&T services, including by initiating a signal to
determine the location of the Target Cell Phone on AT&T’s network or with such other
reference points as may be reasonably available, and at such intervals and times directed
by the government. The government shall compensate AT&T for reasonable expenses
incurred in furnishing such facilities or assistance. This warrant does not authorize the
seizure of any tangible property. In approving this warrant, the Court finds reasonable

necessity for the seizure of the Location Information. See 18 U.S.C. § 3103a(b)(2).
